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 PS8
 (8/88)

                               UNITED STATES DISTRICT COURT
                                                         for
                                                NEW MEXICO

 U.S.A. vs Dominic T. Thomas                                   Docket No. I :2 1 -mj-O1 365-SCY-l




                                 Petition for Action on Conditions of Pretrial Release

 COMES NOW Anthony L. Carter PRETRIAL SERVICES OFFICER presenting an official report upon the
 conduct of Dominic T. Thomas who was placed under pretrial release supervision by the Honorable Steven C.
 Yarbrough, United States Magistrate Judge, sitting in the court at Albuquerque New Mexico, on September
 27 ,2021, with conditions which included the following:


          l.   (6)(a)(b)(c): The defendant is placed in the custody of the La Pasada Halflvay House in
               Albuquerque, New Mexico, who agrees to supervise the defendant, use every effort to assure the
               defendant's appearance at all court proceedings, and notify the court immediately if the defendant
               violates a condition ofrelease or is no longer in the custodian's custody.

          2. (7)(i:  The defendant must maintain residence at a halfway house or community corrections center, as
               the Pretrial Services office or supervising officer considers necessary.


    Rf,SPECTFULLY PRf,SENTING PETITION FOR ACTION OF COURT AND FOR CAUSE AS FOLLOWS:
The defendant was released under Pretrial Services supervision on September 27 , 2021, to the third-party custody
of the La Pasada Halfway House. Upon completion of his intake, the defendant left the Pretrial Services' office
after being instructed to wait for the La Pasada Halfway House to pick him up. The La Pasada Halfway House was
contacted to see if the defendant was present and they advised that he was not. As of this date, the defendant's
whereabouts are unknown.

PRAYING THAT THE COURT WILL ORDER A WARRANT FOR THE DEFENDANT'S ARREST

                                                      I declare under penalty ofperjury that the foregoing is true and
                                                      correcl

                                                      Exccutcd on: Scptcmbcr 27,2021




                                                                ,4L
                                                               Anthony L. Cartcr
                                                               United States Probation Officer

                                                               Place; Albuquerque, New Mexico
